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        EXHIBIT 58
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                                              March 22, 2023

Mr. Mark F. Pomerantz
Former New York County Special Assistant District Attorney
Free & Fair Litigation Group
128 E. Broadway, Unit 793
New York, NY 10002

Dear Mr. Pomerantz:

        New York County District Attorney Alvin Bragg is reportedly about to engage in an
unprecedented abuse of prosecutorial authority: the indictment of a former President of the
United States and current declared candidate for that office. This indictment comes after years of
the District Attorney’s office aggressively pursuing charges, including by appointing you as an
unpaid “special assistant district attorney” to lead the investigation into every facet of President
Trump’s finances.1 Last year, you resigned from the office over Bragg’s initial reluctance to
move forward with charges, shaming Bragg in your resignation letter—which was subsequently
leaked—into bringing charges.2 Based on your unique role in this matter, and your subsequent
public statements prejudicing the impartiality of any prosecution, we request your cooperation
with our oversight of this politically motivated prosecutorial decision.

        The New York County District Attorney’s Office has been investigating President Trump
since at least 2018, looking for some legal theory on which to bring charges.3 The facts
surrounding the impending indictment have “been known for years.”4 Michael Cohen, President
Trump’s disgraced former lawyer, pleaded guilty over four years ago to charges based on the




1
  William K. Rashbaum et al., A former federal prosecutor has joined the Manhattan D.A.’s team investigating the
Trump family business, N.Y. TIMES (Feb. 19, 2021); Ben Protess et al., How the Manhattan DA’s investigation into
President Donald Trump unraveled, N.Y. TIMES (March 5, 2022).
2
  Read the Full Text of Mark Pomerantz’s Resignation Letter, N.Y. TIMES (Mar. 23, 2022) [hereinafter “Pomerantz
Letter].
3
  Andrew Feinberg, New York prosecutors warn Trump of possible indictment, report says, THE INDEPENDENT (Mar.
10, 2023).
4
  Mark Berman et al., The prosecutor, the ex-president and the ‘zombie’ case that came back to life, WASH. POST
(Mar. 17, 2023).
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same facts at issue in the impending indictment.5 By July 2019, however, federal prosecutors
determined that no additional people would be charged alongside Cohen.6

        In January 2022, soon after Bragg took office, he expressed doubts about President
Trump’s case and suspended the investigation.7 This decision caused you and your colleague,
Carey Dunne, to resign in protest.8 You penned a scathing resignation letter in which you
baselessly accused President Trump of “numerous felony violations,” and asserted it would be “a
grave failure of justice” if Bragg did not pursue charges.9 You urged Bragg to hold President
Trump “fully accountable for his crimes,” asserting that Bragg’s decision “will doom any future
prospects” for prosecution.10 Your resignation letter found its way into the New York Times,
word-for-word, and your criticisms of Bragg’s investigation were widely reported by news
outlets.11 Your unrelenting pursuit of President Trump followed you into the private sector as
you and Dunne started a law firm dedicated to “weighing ways” to bar President Trump from
holding future office.12 Just this month, you published a book excoriating Bragg for not
aggressively prosecuting President Trump, laying bare the office’s internal deliberations about
the investigation and your personal animus toward President Trump.13

        It now appears that your efforts to shame Bragg have worked as he is reportedly
resurrecting a so-called “zombie” case against President Trump using a tenuous and untested
legal theory. 14 Even the Washington Post quoted “legal experts” as calling Bragg’s actions
“unusual” because “prosecutors have repeatedly examined the long-established details but
decided not to pursue charges.”15 In addition, Bragg’s star witness—Michael Cohen—has a
serious credibility problem as a convicted perjurer and serial fabricator with demonstrable
prejudice against President Trump.16 Under these circumstances, there is no scenario in which
Cohen could fairly be considered an unbiased and credible witness.

       The inference from the totality of these facts is that Bragg’s impending indictment is
motivated by political calculations. The facts of this matter have not changed since 2018 and no
new witnesses have emerged.17 The Justice Department examined the facts in 2019 and opted not
5
  Shawna Chen, Timeline: The probe into Trump’s alleged hush money payments to Stormy Daniels, AXIOS (Mar.
18, 2023).
6
  Id.; see Berman et al., supra note 4.
7
  Shayna Jacobs et al., Prosecutor who resigned over stalled Trump probe says ex-president committed felonies,
WASH. POST (Mar. 23, 2022).
8
  Id.
9
  Pomerantz Letter, supra note 2.
10
   Id.
11
   Id.
12
   Shayna Jacobs, Lawyers who investigated Trump form group to oppose anti-democratic policies, WASH. POST
(Jan. 11, 2023).
13
   MARK POMERANTZ, PEOPLE VS. DONALD TRUMP: AN INSIDE ACCOUNT (2023).
14
   Berman et al., supra note 4.
15
   Id.
16
   Christopher Lopez, Progressive DA Alvin Bragg’s case against Trump hinges on witnesses with ‘credibility
problems’: Andy McCarthy, FOX NEWS (Mar. 19, 2023); Marisa Schultz, Jim Jordan, Mark Meadows ask Justice
Department to probe Cohen for perjury, N.Y. POST (Feb. 28, 2019); Michael Cohen pleads guilty to lying to
Congress, ASSOC. PRESS (Nov. 29, 2018).
17
   Berman et al., supra note 4.
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to pursue further prosecutions at that time. Even still, according to reporting, the investigation
“gained some momentum this year,” and Bragg’s office “convened a new grand jury in January
to evaluate the issue.”18 The only intervening factor, it appears, was President Trump’s
announcement that he would be a candidate for President in 2024.19

        Your actions, both as a special prosecutor and since leaving the District Attorney’s office,
cast serious doubt on the administration of fair and impartial justice in this matter. Your words in
the New York Times have unfairly disparaged President Trump, an innocent and uncharged man,
as a felon to millions of Times readers. Your book again unfairly disparaged President Trump,
and now opens the door to examination about the District Attorney’s office commitment to
evenhanded justice. In light of this unprecedented and overzealous partisan investigation,
Congress has a keen interest in these facts to inform potential legislation to improve the
functioning and fairness of our criminal justice system, and to better delineate prosecutorial
authority between federal and local officials. In addition, because the circumstances of this
matter stem, in part, from Special Counsel Mueller’s investigation,20 Congress may consider
legislative reforms to the authorities of special counsels and their relationships with other
prosecuting entities.

       Accordingly, to advance our oversight, please produce the following documents and
information in your personal possession for the period January 1, 2017, to the present:

     1. All documents and communications between or among the New York County District
        Attorney’s Office and the U.S. Department of Justice, its component entities, or other
        federal law enforcement agencies referring or relating to New York County District
        Attorney’s investigation of President Donald Trump;

     2. All documents and communications between or among you and representatives of the
        New York County District Attorney’s Office referring or relating to President Donald
        Trump; and

     3. All documents and communications between or among you and representatives of the
        New York County District Attorney’s Office referring or relating to your appointment
        and role as a Special Assistant District Attorney for New York County.

        In addition, your testimony is necessary to advance our oversight and to inform potential
legislative reforms. We therefore ask that you testify in a transcribed interview about these
matters as soon as possible. Please provide this information and contact Committee staff to
schedule your transcribed interview as soon as possible but not later than 10:00 a.m. on March
27, 2023.

      Further, this letter serves as a formal request to preserve all existing and future records
and materials relating to the topics addressed in this letter. You should construe this preservation

18
   Id.
19
   Max Greenwood, Trump announces 2024 run for president, THE HILL (Nov. 15, 2022).
20
   Ben Protess et al., How Michael Cohen turned against President Trump, N.Y. TIMES (Apr. 21, 2019).
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notice as an instruction to take all reasonable steps to prevent the destruction or alteration,
whether intentionally or negligently, of all documents, communications, and other information,
including electronic information and metadata, that are or may be responsive to this
congressional inquiry. This instruction includes all electronic messages sent using your official
and personal accounts or devices, including records created using text messages, phone-based
message applications, or encryption software.

       The Committee on the Judiciary has jurisdiction over criminal justice matters in the
United States and matters involving threats to civil liberties pursuant to Rule X of the Rules of
the House of Representatives.21 If you have any questions about this request, please contact
Committee staff at (202) 225-6906. Thank you for your prompt attention to this matter.

                                              Sincerely,



                                              Jim Jordan
                                              Chairman


cc:        The Honorable Jerrold Nadler, Ranking Member




21
     Rules of the U.S. House of Representatives, R. X (2023).
